 Case 2:19-mj-03507-MF Document 15 Filed 09/29/19 Page 1 of 2 PageID: 52




                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA               :   Hon. Mark Falk

      v.                               :   Mag. No. 19-3507

GENE LEVOFF                                ORDER FOR A CONTINUANCE

      This matter having come before the Court on the joint application of

Craig Carpenito, United States Attorney for the District of New Jersey (by

Courtney A. Howard and Daniel V. Shapiro, Assistant United States Attorneys),

and defendant Gene Levoff (by Kevin H. Marmno, Esq.), for an order granting a

continuance of the proceedings in the above-captioned matter from the date

this Order is signed through October 31, 2019 to permit defense counsel the

reasonable time necessary for effective preparation in this matter and to allow

the parties to conduct plea negotiations and attempt to finalize a plea

agreement; and the defendant being aware that he has the right to have the

matter submitted to a grand jury within 30 days of the date he was served with

a summons pursuant to Title 18, United States Code, Section 3161(b); and five

prior continuances having been entered; and the defendant, through his

attorney, having consented to the continuance; and for good and sufficient

cause shown,

      IT IS THE FINDING OF THIS COURT that this action should be

continued for the following reasons:
 Case 2:19-mj-03507-MF Document 15 Filed 09/29/19 Page 2 of 2 PageID: 53




      (1) Plea negotiations are currently in progress, and both the United

States and the defendant seek additional time to achieve successful resolution

of these negotiations, which would render any grand jury proceedings and any

subsequent trial of this matter unnecessary;

      (2) The defendant has consented to the aforementioned continuance;

      (3) The grant of a continuance will likely conserve judicial resources; and

      (4) Pursuant to Title 18, United States Code, Section 316 1(h)(7), the ends

of justice served by granting the continuance outweigh the best interests of the

public and the defendant in a spey trial.

      WHEREFORE, it is on this day of                          2019;

      ORDERED that this action be, and it he eb is, continued from the date

this Order is signed through October 31, 2019; and it is further

      ORDERED that the period from the date this Order is signed through

October 31, 2019 shall be excludable in computing time under the Speedy Trial

Act of 1974.



                                     HONORABLE LEDfrDUNWWE17RE
                                     United States Magistrate Judge
Form and entry consented to:

               /       I     /
C       -‘-
                   .



Courtney A. l1ward
Daniel V. Shapiro
Assistant U.S. Attorneys



Kevin H. Marino, Esq.
Counsel for Defendant Gene Levoff
                                        2
